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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                   Evansville Division

  LYNNETTE J. KAISER, et al.,

                 Plaintiffs,                        Case No.: 3:20-cv-278
         v.

  ALCOA USA CORP. et al.,                           Demand for Jury Trial

                 Defendants.


   PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY

         Pursuant to Rule 56(a) of the Federal Rules of Civil Procedure and Local Rule 56-1,

  Plaintiffs, on behalf of themselves and the Class certified by this Court’s September 29, 2022

  Order (ECF No. 108), hereby move for partial summary judgment as to the issue of liability. In

  support thereof, Plaintiffs state as follows:

         1.      Plaintiffs are entitled to partial summary judgment as to Count I of the Class

  Action Complaint (ECF No. 1 at 24) under Section 301 of the Labor Management Relations Act

  (“LMRA”), 29 U.S.C § 185(a), as the undisputed facts of record demonstrate that Defendants

  (hereinafter “Alcoa”) breached the terms of collective bargaining agreements (“CBAs”) in effect

  when the Class Members in this case retired by unilaterally terminating their retiree health

  benefits on January 1, 2021.

         2.      Plaintiffs are entitled to partial summary judgment as to Count II of the Class

  Action Complaint (ECF No. 1 at 25) under Section 502(a) of the Employee Retirement Income

  Security Act (“ERISA”), 29 U.S.C § 1132(a), as by breaching the CBAs Alcoa violated the

  terms of a negotiated employee welfare benefit plan within the meaning of ERISA.

         3.      The parties have agreed, and on February 23, 2023 this Court ordered, that

  discovery relating to the calculation of Plaintiffs’ claimed damages will take place after the Court
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  rules on this motion and any dispositive motion by Alcoa. (ECF No. 129).

         WHEREFORE, for the reasons explained in Plaintiffs’ supporting Memorandum of Law

  and the other materials filed with this Motion, Plaintiff requests that the Court grant partial

  summary judgment as to the issue of Alcoa’s liability, after which the parties will propose

  additional dates for damages discovery pursuant to the Court’s February 23, 2023 Order. A

  proposed order is filed herewith.

  Dated: March 31, 2023,                   Respectfully submitted,
                                           s/Joel R. Hurt
                                             Joel R. Hurt

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                                 CERTIFICATE OF SERVICE


          I hereby certify that, on March 31, 2023, a copy of the foregoing document was filed
  electronically. Service of this filing will be made on all ECF-registered counsel by operation of
  the court’s electronic filing system. Parties may access this filing through the court’s system.

                                              s/Joel R. Hurt
                                                Joel R. Hurt
